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[N THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENl\Il*_`.SSEl;.}r
EASTERN DIVISION i§`§»‘i>
f'/’:~'“`?’

UNITED STATES OF AMERICA,

 

Plaintiff,

v. NO. 04-] 258 T/An
45.50 ACRES OF LAND, MORE OR
LESS, SITUATED IN GIBSON
COUNTY, TENNESSEE, et al.,

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Defendants. )

 

ORDER GRANTING MOTION FOR MODIFICATION
OF RULE 16(b) SCHEDULING ORI)ER

 

Before the Coult is the United States’ Motion to Extend Dates for Disclosure of Expert
Witnesses and Completion of Discovery filed on June 30, 2005. For good cause shown, the

motion is GRANTED. The Scheduling Order shall be modified to reflect the following

deadlines:
Plaintifi’s Expert Disclosure September 15, 2005
Defendant’s Expert Disclosure October 15, 2005
All Discovery Completed November 15, 2005

The other deadlines established in the Rule lG(b) Scheduling Order remain in effect

('Q>./{T\imm@m»)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: AT}SM:}‘ /Z,; 2003/

Thls document entered on the docket sheet In compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:04-CV-01258 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

